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JS 44 (Rev.      )                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                      DEFENDANTS



   (b) County of Residence of First Listed Plaintiff                                                   County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.


   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)



II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                   (For Diversity Cases Only)                                        and One Box for Defendant)
  1    U.S. Government                 3 Federal Question                                                                   PTF        DEF                                          PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                      Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                of Business In This State

  2    U.S. Government                 4 Diversity                                            Citizen of Another State            2         2   Incorporated and Principal Place         5       5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                              Citizen or Subject of a             3         3   Foreign Nation                           6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT                  (Place an “X” in One Box Only)
          CONTRACT                                         TORTS                                FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                         310 Airplane                   365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   400 State Reapportionment
  130 Miller Act                     315 Airplane Product               Product Liability        690 Other                                28 USC 157                   410 Antitrust
  140 Negotiable Instrument               Liability                 367 Health Care/                                                                                   430 Banks and Banking
  150 Recovery of Overpayment        320 Assault, Libel &               Pharmaceutical                                                PROPERTY RIGHTS                  450 Commerce
      & Enforcement of Judgment           Slander                       Personal Injury                                               820 Copyrights                   460 Deportation
  151 Medicare Act                   330 Federal Employers’             Product Liability                                             830 Patent                       470 Racketeer Influenced and
  152 Recovery of Defaulted               Liability                 368 Asbestos Personal                                             840 Trademark                        Corrupt Organizations
      Student Loans                  340 Marine                         Injury Product                                                                                 480 Consumer Credit
      (Excl. Veterans)               345 Marine Product                 Liability                         LABOR                       SOCIAL SECURITY                  490 Cable/Sat TV
  153 Recovery of Overpayment             Liability                PERSONAL PROPERTY             710 Fair Labor Standards             861 HIA (1395ff)                 850 Securities/Commodities/
      of Veteran’s Benefits          350 Motor Vehicle              370 Other Fraud                  Act                              862 Black Lung (923)                 Exchange
  160 Stockholders’ Suits            355 Motor Vehicle              371 Truth in Lending         720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))           890 Other Statutory Actions
  190 Other Contract                     Product Liability          380 Other Personal           740 Railway Labor Act                864 SSID Title XVI               891 Agricultural Acts
  195 Contract Product Liability     360 Other Personal                 Property Damage          751 Family and Medical               865 RSI (405(g))                 893 Environmental Matters
  196 Franchise                          Injury                     385 Property Damage              Leave Act                                                         895 Freedom of Information
                                     362 Personal Injury -              Product Liability        790 Other Labor Litigation                                                Act
                                         Med. Malpractice                                        791 Empl. Ret. Inc.                                                   896 Arbitration
      REAL PROPERTY                    CIVIL RIGHTS               PRISONER PETITIONS                 Security Act                     FEDERAL TAX SUITS                899 Administrative Procedure
  210 Land Condemnation              440 Other Civil Rights         510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff            Act/Review or Appeal of
  220 Foreclosure                    441 Voting                         Sentence                                                          or Defendant)                    Agency Decision
  230 Rent Lease & Ejectment         442 Employment                 Habeas Corpus:                                                    871 IRS—Third Party              950 Constitutionality of
  240 Torts to Land                  443 Housing/                   530 General                                                           26 USC 7609                      State Statutes
  245 Tort Product Liability             Accommodations             535 Death Penalty                 IMMIGRATION
  290 All Other Real Property        445 Amer. w/Disabilities -     540 Mandamus & Other         462 Naturalization Application
                                         Employment                 550 Civil Rights             463 Habeas Corpus -
                                     446 Amer. w/Disabilities -     555 Prison Condition             Alien Detainee
                                         Other                      560 Civil Detainee -             (Prisoner Petition)
                                     448 Education                      Conditions of            465 Other Immigration
                                                                        Confinement                  Actions

V. ORIGIN                (Place an “X” in One Box Only)
                                                                                                                   Transferred from
  1 Original              2 Removed from              3 Remanded from               4 Reinstated or           5 another district              6 Multidistrict
    Proceeding              State Court                    Appellate Court              Reopened                   (specify)                       Litigation
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER F.R.C.P. 23                                                                                 JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE                                                               DOCKET NUMBER

DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

 RECEIPT #                      AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE
